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                      1     GORDON SILVER
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                      3     3960 Howard Hughes Pkwy., 9th Floor
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                      5     Attorney for Defendant
                            CALWAY WILLIAM CAULEY
                      6

                      7
                                                        UNITED STATES DISTRICT COURT
                      8
                                                                  DISTRICT OF NEVADA
                      9

                     10
                            UNITED STATES OF AMERICA                            CASE NO. 2:08-cr-00288 PMP(RJJ)
                     11
                                                            Plaintiff,
                     12
                            VS.
                     13
                            CALWAY WILLIAM CAULEY,
                     14
                                                            Defendant.
                     15
                     16           DEFENDANT CALWAY WILLIAM CAULEY'S EX-PARTE MOTION FOR
                             ORDER DIRECTING THE U.S. MARSHAL TO ARRANGE TRANSPORTATION TO
                     17                                  HEARING
                     18
                                     COMES NOW, Defendant, CALWAY WILLIAM CAULEY, by and through counsel,
                     19
                            PAOLA M. ARMENI, ESQ., of the law firm of GORDON SILVER, and hereby moves this
                     20
                            Honorable Court for an order directing the United States Marshal to arrange for Mr. Cauley's
                     21
                            noncustodial transportation from Los Angeles, California to Las Vegas, Nevada on or before
                     22
                            August 3, 2010 at the hour of 10:00 a.m. for the purpose of appearing before the Honorable
                     23
                            Philip M. Pro for sentencing.
                     24

                     25

                     26

                     27

                     28
     Gordon Silver
     Attorneys At Law                                                    1 of 4
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                           Case 2:08-cr-00288-PMP-RJJ           Document 312         Filed 07/27/10     Page 2 of 4


                      1               This request is limited to payment of one-way transportation to the above-referenced

                      2     court appearance only.

                      3               Dated this            day of July 2010.

                      4                                                         GORDON VER

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                                                                                                      s)uu4---
                      6                                                         PAOLA . ARMENI
                                                                                Nevada Bar No. 8357
                      7                                                         3960 Howard Hughes Pkwy., 9th Floor
                                                                                Las Vegas, Nevada 89169
                      8                                                         (702) 796-5555
                                                                                Attorney for Defendant
                      9                                                         CALWAY WILLIAM CAULEY

                     10
                                      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF EX
                     11         PARTE MOTION FOR ORDER DIRECTING PAYMENT OF TRANSPORTATION
                                                          EXPENSES
                     12

                     13               Upon the Ex-Parte Motion of Calway William Cauley, 18 U.S.C. § 4285 provides that

                     14     any United States judge or magistrate may direct the United States Marshal to arrange for the

                     15     payment of the subsistence and travel expenses of a defendant who has been released on bail and

                     16     who is obligated to make a subsequent appearance in any United States court when the interests

                     17      of justice would be served thereby and the judge or magistrate is satisfied that the defendant is

                     18      financially unable to provide the necessary transportation to appear in Court.

                     19               Mr. Cauley is in his late 60's and is currently retired. As such, the only income that he

                     20     receives is through social security. Mr. Cauley has also informed counsel that he does not have

                     21      any funds in a bank account or otherwise. Because of his lack of funds, Mr. Cauley will be
                     22
                            unable to travel from his home in Los Angeles, California to Las Vegas, Nevada unless this
                     23
                             Honorable Court directs the United States Marshal to pay his necessary travel and subsistence
                     24
                             expenses.
                     25
                                      It has been determined by this Court that Mr. Cauley qualifies for the appointment of
                     26

                     27      counsel pursuant to 18 U.S.C. 3006A.

                     28
     Gordon Silver
     Attorneys At Law                                                       2 of 4
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                      1               Pursuant to the District Court's Memorandum Order dated January 22, 1986, the
                      2     following representations are made: (1) that the United States Attorney's Office has not been
                      3     provided a copy of this motion; and (2) that this matter is not the proper subject of a stipulation.
                      4
                                      DATED this            tday of July 2010.
                      5
                                                                               Respectfully submitted,
                      6
                      7                                                        GORDON SILVER

                      8
                      9                                                        PAOLA M. ARMENI
                                                                                                  LO-
                                                                               Nevada Bar No. 8357
                     10                                                        3960 Howard Hughes Pkwy., 9th Floor
                                                                               Las Vegas, Nevada 89169
                     11                                                        (702) 796-5555
                                                                               Attorney for Defendant
                     12                                                        CALWAY WILLIAM CAULEY

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     Gordon Silver
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                     6                                    UNITED STATES DISTRICT COURT

                     7                                            DISTRICT OF NEVADA

                     8      UNITED STATES OF AMERICA                                  CASE NO. 2:08-cr-00288 PMP(RJJ)

                     9                                      Plaintiff,

                   10       vs.

                   11       CALWAY WILLIAM CAULEY

                   12                                       Defendant.

                   13
                                           EX-PARTE ORDER DIRECTING U.S. MARSHAL TO ARRANGE
                   14                                 TRANSPORTATION TO HEARING
                   15
                                      Having reviewed the Defendant, Calway William Cauley's Ex Parte Motion for Order
                   16
                            Directing the U.S. Marshal to Arrange Transportation to Hearing, and good cause appearing
                   17
                            therefor:
                   18
                                      IT IS HEREBY ORDERED that the United States Marshal shall arrange one-way
                   19
                            transportation for defendant, Calway William Cauley, to travel from Los Angeles, California to
                   20
                            Las Vegas, Nevada on or before August 3, 2010 at the hour of 10:00 a.m. for the purpose of
                   21
                            appearing before the Honorable Philip M. Pro for sentencing.
                   22
                                      This order is limited to payment of one-way transportation to the above-referenced court
                   23
                             appearance only.
                   24
                                      Dated this    27th day ofday
                                                                July,of2010.
                                                                        July, 2010.
                   25

                   26
                                                                                        PHILIP M. PRO
                   27                                                                   United States District Court Judge
                   28
      Gordon Silver
     Attorneys At Law                                                          4 of 4
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